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APPENDICES TO THE EXPERT
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    REDACTED VERSION
        (Part 1 of 2)
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                                                                           Appendix A2
                                                     Number of Employees and New Hires by Defendant and Year
                                                                Technical, Creative, and R&D Class
                                                                            2001 - 2011

                                                                                                Number of Employees
                         Defendant       2001         2002         2003        2004         2005       2006       2007              2008         2009            2010     2011
                      ADOBE               1,582        1,441        1,450       1,579        2,205      2,218      2,277             2,400        2,552           2,489    2,639
                      APPLE               2,670        2,866        2,954       2,942        3,358      3,677      4,248             4,950        5,589           6,663    7,582
                      GOOGLE                101          207          509       1,026        2,258      3,776      5,289             6,387        6,824           8,693   11,139
                      INTEL              28,143       26,911       26,209      25,698       30,230    28,856     27,583             27,167       27,017          27,741   30,411
                      INTUIT              1,554        1,973        1,904       1,826        1,809      1,859      2,233             2,317        2,208           2,278    2,429
                      LUCASFILM              57           65           72          80          134        274        335               320          348             338      320
                      PIXAR                 372          411          413         435          476        548        564               661          700             746      765
                      Total              34,479       33,874       33,511      33,586       40,470        41,208       42,529       44,202       45,238          48,948   55,285


                                                                                                 Number of New Hires
                         Defendant        2001        2002         2003         2004         2005      2006        2007             2008         2009            2010     2011
                      ADOBE                  214        120          131           215          724       331         311              258         382              297      348
                      APPLE                  542        354          302           339          643       589         752              859         819            1,331    1,508
                      GOOGLE                  44        109          294           537        1,263     1,550       1,717            1,387         653            2,138    2,788
                      INTEL                3,151        974          841         1,831        4,561     1,675       1,192            1,935         766            1,731    3,435
                      INTUIT                 299        397          245           263          360       373         652              373         234              293      329
                      LUCASFILM               18           6            7            9           36       127          81               50          43               57       23
                      PIXAR                  103         71           45            45           62        97          48              134          84               83       81
                      Total               4,371        2,031        1,865        3,239        7,649        4,742        4,753        4,996        2,981           5,930    8,512


                                Notes: The following employees are dropped: interns, part-time employees, senior executives, retail employees,
                                       non-U.S. employees, and hourly employees.
                                       235 Intel's employees with home country other than the U.S. in 2009 are dropped.
                                       New hires are defined as employees who have their first observed record within 12 months after their current hire date.
                                       Employees with first observed records on January 2001 need to have been hired in that month in order to be counted as
                                       a new hires.

                               Source: Dr. Leamer's backup.
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                                                                         Appendix A3
                                                    Intel - Number of Employees by Grade Level and Year
                                                              Technical, Creative, and R&D Class
                                                                          2001 - 2011




                        Note: 235 employees with home country other than the U S in 2009 are dropped
                       Source: Dr Leamer's backup
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                                                                    Appendix A5
                                                Apple - Number of Employees by Grade Level and Year
                                                         Technical, Creative, and R&D Class
                                                                     2001 - 2011




                              Source: Dr Leamer's backup
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                                                            Appendix A7
                                       Select Adobe Job Code Years With Multipe Salary Ranges
                                                 Technical, Creative, and R&D Class

                      Job Code                        Job Title         Year    Minimum     Middle     Maximum




                             Source: Dr. Leamer's backup.
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                                                                  Appendix A8
                                               Adobe - Number of Employees by Job Code and Year
                                                       Technical, Creative, and R&D Class
                                                                   2001 - 2011

                      Job Code   2001       2002    2003    2004    2005       2006   2007   2008   2009      2010   2011




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                                                                  Appendix A8
                                               Adobe - Number of Employees by Job Code and Year
                                                       Technical, Creative, and R&D Class
                                                                   2001 - 2011

                      Job Code   2001       2002    2003    2004    2005       2006   2007   2008   2009      2010   2011




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                                                                  Appendix A8
                                               Adobe - Number of Employees by Job Code and Year
                                                       Technical, Creative, and R&D Class
                                                                   2001 - 2011

                      Job Code   2001       2002    2003    2004    2005       2006   2007   2008   2009      2010   2011




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                                                                  Appendix A8
                                               Adobe - Number of Employees by Job Code and Year
                                                       Technical, Creative, and R&D Class
                                                                   2001 - 2011

                      Job Code   2001       2002    2003    2004    2005       2006   2007   2008   2009      2010   2011




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                                                                  Appendix A8
                                               Adobe - Number of Employees by Job Code and Year
                                                       Technical, Creative, and R&D Class
                                                                   2001 - 2011

                      Job Code   2001       2002    2003    2004    2005       2006   2007   2008   2009      2010   2011




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                                                                  Appendix A8
                                               Adobe - Number of Employees by Job Code and Year
                                                       Technical, Creative, and R&D Class
                                                                   2001 - 2011

                      Job Code   2001       2002    2003    2004    2005       2006   2007   2008   2009      2010   2011




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                                                                  Appendix A8
                                               Adobe - Number of Employees by Job Code and Year
                                                       Technical, Creative, and R&D Class
                                                                   2001 - 2011

                      Job Code   2001       2002    2003    2004    2005       2006   2007   2008   2009      2010   2011




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                                                                       Appendix A8
                                                    Adobe - Number of Employees by Job Code and Year
                                                            Technical, Creative, and R&D Class
                                                                        2001 - 2011

                      Job Code      2001        2002        2003   2004   2005       2006   2007   2008   2009   2010   2011




                             Source: Dr. Leamer's backup.




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                                                                                              Appendix A9
                                                                                       Count of Adobe Job Codes
                                                                                  By Number of Employees in Job Code
                                                                                   Technical, Creative, and R&D Class
                      Count of Adobe Job Codes




                                                                                              Number of Employees in Job Code




                                            Source: Dr. Leamer's backup.
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                                                                                             Appendix A9
                                                                                       Count of Adobe Job Codes
                                                                                  By Number of Employees in Job Code
                                                                                   Technical Creative and R&D Class
                      Count of Adobe Job Codes




                                                                                              Number of Employees in Job Code




                                            Source: Dr. Leamer's backup.
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                                                                                              Appendix A9
                                                                                       Count of Adobe Job Codes
                                                                                  By Number of Employees in Job Code
                                                                                   Technical, Creative, and R&D Class
                      Count of Adobe Job Codes




                                                                                              Number of Employees in Job Code




                                            Source: Dr. Leamer's backup.
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                                                                                              Appendix A9
                                                                                       Count of Adobe Job Codes
                                                                                  By Number of Employees in Job Code
                                                                                   Technical, Creative, and R&D Class
                      Count of Adobe Job Codes




                                                                                              Number of Employees in Job Code




                                            Source: Dr. Leamer's backup.
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                                                                                              Appendix A9
                                                                                       Count of Adobe Job Codes
                                                                                  By Number of Employees in Job Code
                                                                                   Technical, Creative, and R&D Class
                      Count of Adobe Job Codes




                                                                                              Number of Employees in Job Code




                                            Source: Dr. Leamer's backup.
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                                                                                              Appendix A9
                                                                                       Count of Adobe Job Codes
                                                                                  By Number of Employees in Job Code
                                                                                   Technical, Creative, and R&D Class
                      Count of Adobe Job Codes




                                                                                              Number of Employees in Job Code




                                            Source: Dr. Leamer's backup.
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                                                                                              Appendix A9
                                                                                       Count of Adobe Job Codes
                                                                                  By Number of Employees in Job Code
                                                                                   Technical, Creative, and R&D Class
                      Count of Adobe Job Codes




                                                                                              Number of Employees in Job Code




                                            Source: Dr. Leamer's backup.
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                                                                                              Appendix A9
                                                                                       Count of Adobe Job Codes
                                                                                  By Number of Employees in Job Code
                                                                                   Technical, Creative, and R&D Class
                      Count of Adobe Job Codes




                                                                                              Number of Employees in Job Code




                                            Source: Dr. Leamer's backup.
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                                                                                              Appendix A9
                                                                                       Count of Adobe Job Codes
                                                                                  By Number of Employees in Job Code
                                                                                   Technical, Creative, and R&D Class
                      Count of Adobe Job Codes




                                                                                              Number of Employees in Job Code




                                            Source: Dr. Leamer's backup.
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                                                                                              Appendix A9
                                                                                       Count of Adobe Job Codes
                                                                                  By Number of Employees in Job Code
                                                                                   Technical, Creative, and R&D Class
                      Count of Adobe Job Codes




                                                                                              Number of Employees in Job Code




                                            Source: Dr. Leamer's backup.
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                                                                                              Appendix A9
                                                                                       Count of Adobe Job Codes
                                                                                  By Number of Employees in Job Code
                                                                                   Technical, Creative, and R&D Class
                      Count of Adobe Job Codes




                                                                                              Number of Employees in Job Code




                                            Source: Dr. Leamer's backup.
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                                                              Appendix A13
                                         Google - Number of Employees by Grade Level and Year
                                                   Technical, Creative, and R&D Class
                                                               2001 - 2011




                         Source: Dr. Leamer's backup.
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                                                                                                                Appendix B2
                                                                                                       Adobe, Apple, Intel, and Google
                                                                                         Retention of Employees with Some and Zero Equity Grants
                                                                                                     Technical, Creative and R&D Class
                                                                                                                 2001 - 2011




                       Note: Stayers are defined as employees at year-end that are also present in the next year-end data for the defendant
                             Leavers are defined as employees at year-end that are not present in the next year-end data for the defendant

                      Source: Dr Leamer's backup
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